Case 5:09-mj-01536-KS Document 4 Filed 10/13/15 Page 1 of 7
Case 5:09-mj-01536-KS Document 4 Filed 10/13/15 Page 2 of 7
Case 5:09-mj-01536-KS Document 4 Filed 10/13/15 Page 3 of 7
Case 5:09-mj-01536-KS Document 4 Filed 10/13/15 Page 4 of 7
Case 5:09-mj-01536-KS Document 4 Filed 10/13/15 Page 5 of 7
Case 5:09-mj-01536-KS Document 4 Filed 10/13/15 Page 6 of 7
          October 6, 2015




13th         October




   Case 5:09-mj-01536-KS Document 4 Filed 10/13/15 Page 7 of 7
